 Case 2:20-cv-00570-JVS-KES Document 48 Filed 08/24/20 Page 1 of 28 Page ID #:2127




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15                        IN THE UNITED STATES DISTRICT COURT
16                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
17                                  SOUTHERN DIVISION
18   INKIE LEE; WAYNE SALLURDAY; Case No. 2:20-cv-00570-JVS-KES
     LORI SALLURDAY; ANANDHI
19   BHARADWAJ; SARGON DANIEL;
     STEPHANIE GLEASON; LAVERNE Judge Assigned: Hon. James V. Selna
20   JACKSON; SANDY XIA; NISSIM
     AHRONEE; SANJAY CHOPRA;              PLAINTIFFS’ OPPOSITION TO
21   EDWIN ARROYAVE; MICHAEL              DEFEDANT’S MOTION TO COMPEL
     CURLEY; WILLIAM DOYLE;               CERTAIN PLAINTIFFS TO INDIVIDUAL
22   ROBERT GUCWA; JAVIER                 ARBITRATION AND DISMISS CLAIMS
     GUZMAN; SUSAN HUTCHESON;
23   MACE RAKESTRAW; RODRIGO
     RODRIGUEZ; HASNIN SYED;              Date:      September 21, 2020
24   YUFEI WU; WENDY HENSEL;              Time:      1;30 a.m.
     JOSEPH TYSON; and YUXIANG            Courtroom: 10C
25   ZHANG; on behalf of themselves and
     all others similarly situated,
26
                   Plaintiffs,
27
            v.
28

     Pls.’ Opp’n to Def.’s Mot. to Compel Arbitration
     Case No. 2:20-cv-00570-JVS-KES
 Case 2:20-cv-00570-JVS-KES Document 48 Filed 08/24/20 Page 2 of 28 Page ID #:2128




 1   TESLA, INC. and Does 1 through 10,
     inclusive,
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                   Defendants.
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     Pls.’ Opp’n to Def.’s Mot. to Compel Arbitration
     Case No. 2:20-cv-00570-JVS-KES
 Case 2:20-cv-00570-JVS-KES Document 48 Filed 08/24/20 Page 3 of 28 Page ID #:2129




 1                                              TABLE OF CONTENTS
 2                                                                                                                               Page
 3   TABLE OF CONTENTS ................................................................................................... i
 4   I       INTRODUCTION .................................................................................................. 1
 5   II      PROCEDURAL BACKGROUND ........................................................................ 2
 6           A.       Plaintiffs for Whom Tesla Is Not Seeking to Compel Arbitration .............. 4
 7           B.       The Arbitration Provisions ........................................................................... 4
 8                    1.       Consumer Arbitration Rules .............................................................. 5
 9                    2.       Arbitrator Cannot Hear Class and Representative Claim
10                              and Requests for Relief on Behalf of Others Purchasing or
11                             Leasing Tesla Vehicles ...................................................................... 6
12                    3.       Severability of Claims for Injunctive and Declaratory Relief ........... 6
13   III     ARGUMENT .......................................................................................................... 7
14           A.       The Alleged Waivers of Plaintiffs’ Claims for Public Injunctive Relief
15                    Are Against Public Policy and Cannot Be Enforced ................................... 7
16                    1.       California Law Forbids the Parties from Waiving a Consumer’s
17                             Right to Seek Public Injunctive Relief .............................................. 8
18                    2.       Other States Also Forbid Consumers From Waiving Claims For
19                             Public Injunctive Relief ..................................................................... 9
20                             a.       Florida ...................................................................................... 9
21                             b.       Washington ............................................................................ 10
22                             c.       Oregon ................................................................................... 11
23                             d.       Georgia .................................................................................. 11
24                             e.       Pennsylvania .......................................................................... 12
25                             f.       Texas ...................................................................................... 13
26                    3.       Each Plaintiff’s Contract Bars Plaintiff from Seeking Public
27                             Injunctive Claims in any Forum ...................................................... 14
28
                                                                     i
     Pls.’ Opp’n to Def.’s Mot. to Compel Arbitration
     Case No. 2:20-cv-00570-JVS-KES
 Case 2:20-cv-00570-JVS-KES Document 48 Filed 08/24/20 Page 4 of 28 Page ID #:2130




 1                                       TABLE OF CONTENTS (cont.)
 2                                                                                                                     Page
 3          B.      This Court Should Proceed with the Litigation Regardless of How It
 4                  Decides the Motion .................................................................................... 18
 5   IV     CONCLUSION..................................................................................................... 19
 6
 7
 8
 9
10
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                                ii
     Pls.’ Opp’n to Def.’s Mot. to Compel Arbitration
     Case No. 2:20-cv-00570-JVS-KES
 Case 2:20-cv-00570-JVS-KES Document 48 Filed 08/24/20 Page 5 of 28 Page ID #:2131




 1                                           TABLE OF AUTHORITIES
 2                                                                                                                    Page(s)
 3   Cases
 4   Blair v. Rent-A-Center, Inc.,
            928 F.3d 819 (9th Cir. 2019) .................................................................. 9, 14, 15, 17
 5
     Cannon v. Wells Fargo Bank N.A.,
 6        917 F. Supp. 2d 1025 (N.D. Cal. 2013) .................................................................. 15
 7   Coastal Caisson Drill Co. v. Am. Cas. Co.,
          523 So. 2d 791 (Fla. App. 1988) ............................................................................ 10
 8
     Cottrell v. AT&T Inc.,
 9         No. 19-cv-07672-JCS, 2020 WL 2747774 (N.D. Cal. May 27, 2020) .................... 9
10   Davis v. Powertel, Inc.,
           776 So.2d 971 (Fla. App. 2000) ............................................................................. 10
11
     Day v. AT&T Corp.,
12         63 Cal. App. 4th 325 (1998) ................................................................................... 17
13   Dornaus v. Best Buy Co.,
          No. 18-CV-04085-PJH, 2019 WL 632957 (N.D. Cal. Feb. 14, 2019)....... 14, 17, 18
14
     Erskine v. Upham,
15         132 P.2d 219 (Cal. App. 1942) ............................................................................... 12
16   Grandview Inland Fruit Co. v. Hartford Fire Ins. Co.,
          66 P.2d 827 (Wash. 1937) ...................................................................................... 11
17
     Hall v. Amica Mut. Ins. Co.,
18         538 Pa. 337, 648 A.2d 755 (1994) .................................................................... 13, 14
19   Hess v. Ford Motor Co.,
           27 Cal. 4th 516 (2002) ............................................................................................ 17
20
     Holt v. O’Brien Imports of Fort Myers, Inc.,
21         862 So. 2d 87 (Fla. App. 2003) .............................................................................. 10
22   In re Ambrose,
            568 B.R. 716 (Bankr. N.D. Ga. 2017) .............................................................. 12, 13
23
     In re Leisure,
24          82 P.3d 144 (Or. 2003) ........................................................................................... 11
25   In re Ocwen Loan Serv., LLC Mortg. Serv. Litig.,
            491 F.3d 638 (7th Cir. 2007) .................................................................................. 15
26
27
28
                                                                  iii
     Pls.’ Opp’n to Def.’s Mot. to Compel Arbitration
     Case No. 2:20-cv-00570-JVS-KES
 Case 2:20-cv-00570-JVS-KES Document 48 Filed 08/24/20 Page 6 of 28 Page ID #:2132




 1                                       TABLE OF AUTHORITIES (cont.)
 2                                                                                                                        Page(s)
 3   In re Tobacco II Cases,
            46 Cal. 4th 298 (2009) ............................................................................................ 17
 4
     In re: FCA US LLC Monostable Electronic Gearshift Litig.,
 5          355 F. Supp. 3d 582 (E.D. Mich. 2018) ................................................................. 12
 6   Kwikset Corp. v. Superior Court,
          51 Cal. 4th 310 (2011) ............................................................................................ 17
 7
     McGill v. Citibank, N.A.,
 8        2 Cal. 5th 945 (2017) .................................................................................. 7, 8, 9, 16
 9   Olosoni v. HRB Tax Grp.,
          No. 19-cv-03610-SK, 2019 WL 7576680 ................................................................ 9
10
     Rogers v. Lyft, Inc.,
11        --- F. Supp. 3d ---, 2020 WL 1684151 (N.D. Cal. Apr. 7, 2020) ............................. 9
12   Sandquist v. Lebo Auto., Inc.,
          1 Cal. 5th 233 (2016) .............................................................................................. 19
13
     Scott v. Cingular Wireless,
14          161 P.3d 1000 (Wash. 2007) .................................................................................. 10
15   Shoreline Cmty. Coll. Dist. No. 7 v. Emp. Sec. Dept.,
           842 P.2d 938 (Wash. 1992) .................................................................................... 11
16
     Sloan v. Thompson,
17         115 P.3d 1009 (Wash. App. 2005) ......................................................................... 11
18   Tucker v. Pac. Bell Mobile Servs.,
          208 Cal. App. 4th 201 (2012) ................................................................................. 17
19
     Weigel v. Ron Tonkin Chevrolet Co.,
20        690 P.2d 488 (Or. 1984) ......................................................................................... 11
21   Wolf v. Walt Disney Pictures & Television,
           162 Cal. App. 4th 1107 (2008) ............................................................................... 17
22
     Statutes
23
     Cal. Bus. & Prof. Code § 17200 ......................................................................................... 8
24
     Cal. Bus. & Prof. Code § 17500 ......................................................................................... 8
25
     Cal. Civ. Code § 1750 ......................................................................................................... 8
26
     Cal. Civ. Code § 3513 ..................................................................................................... 8, 9
27
28
                                                                    iv
     Pls.’ Opp’n to Def.’s Mot. to Compel Arbitration
     Case No. 2:20-cv-00570-JVS-KES
 Case 2:20-cv-00570-JVS-KES Document 48 Filed 08/24/20 Page 7 of 28 Page ID #:2133




 1                                        TABLE OF AUTHORITIES (cont.)
 2                                                                                                                           Page(s)
 3   Fla. Stat. § 501.211 ........................................................................................................... 10
 4   Ga. Code § 10-1-373 ......................................................................................................... 12
 5   Or. St. § 646.638 ............................................................................................................... 11
 6   Tex. Bus. & Com. Code § 17.41 ....................................................................................... 13
 7   Tex. Bus. & Com. Code § 17.42 ....................................................................................... 14
 8   Texas Business and Commerce Code § 17.50 .................................................................. 13
 9   Rules
10   Fed. R. Civ. P. 8(a)............................................................................................................ 15
11
12
13
14
15
16
17
18
19
20
21
22
23
24
25
26
27
28
                                                                      v
     Pls.’ Opp’n to Def.’s Mot. to Compel Arbitration
     Case No. 2:20-cv-00570-JVS-KES
 Case 2:20-cv-00570-JVS-KES Document 48 Filed 08/24/20 Page 8 of 28 Page ID #:2134




 1                                       I      INTRODUCTION
 2          Faced with allegations that its vehicles exhibit uncommanded full power
 3   acceleration while in the process of parking, or otherwise moving at slow speed, in a
 4   manner posing a grave threat to human life, Defendant Tesla, Inc. responds by moving to
 5   compel arbitration for a majority of, but not all, Plaintiffs’ claims. In doing so Defendant,
 6   a company Forbes once described as “transforming the auto industry,” has chosen to
 7   defend this action in traditional corporate fashion by 1) blaming the driver for each of
 8   hundreds of documented instances of uncommanded full power acceleration, and 2)
 9   coupling arbitration agreements with class action waivers to ensure that any legal
10   assertion of product defects is both economically and procedurally unfeasible. See
11   Katherine V.W. Stone and Alexander J.S. Colvin, The Arbitration Epidemic, Economic
12   Policy Institute Briefing Paper (2015) (“Composite arbitration–class-action waivers have
13   become common in contracts offered by credit card companies, banks, cell phone
14   providers, and providers of other common services.”).
15          Defendant asserts that Plaintiffs “agreed to resolve their disputes with Tesla only
16   in individual arbitration,” but this is a fiction Tesla reserves for the Court. Not one
17   Plaintiff affirmatively agreed to this arbitration agreement with its class action waiver.
18   Rather, Tesla included the provision in a “consumer agreement” requiring consumers to
19   mail notice of intent to opt out within 30 days of accepting the contract. Indeed, Tesla
20   specified in its arbitration provision that disputes would be resolved “by a single
21   arbitrator administered by the American Arbitration Association (AAA) under its
22   Consumer Arbitration Rules.” (Decl. of Jasjit Ahluwalia, Dkt No. 44-35, Ex. 5, at 33.)
23   Significantly, the AAA defines a consumer agreement as:
24                an agreement between an individual consumer and a business
                  where the business has a standardized, systematic application of
25                arbitration clauses with customers and where the terms and
                  conditions of the purchase of standardized, consumable goods
26                or services are non-negotiable or primarily non-negotiable in
                  most or all of its terms, conditions, features, or choices.
27
     American Arbitration Association, Consumer Arbitration Rules (2014). Nevertheless,
28
     Ninth Circuit courts generally hold that the existence of the 30-day opt out period
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     Pls.’ Opp’n to Def.’s Mot. to Compel Arbitration
     Case No. 2:20-cv-00570-JVS-KES
 Case 2:20-cv-00570-JVS-KES Document 48 Filed 08/24/20 Page 9 of 28 Page ID #:2135




 1   precludes a finding of procedural unconscionability and uphold class action waivers
 2   within arbitration agreements.
 3          But Tesla goes too far in seeking to have the Court dismiss all of Plaintiffs’ claims
 4   to arbitration. Tesla acknowledges, as it must, that under California law the right of
 5   plaintiffs to seek public injunctive relief cannot be waived. But Tesla fails to
 6   acknowledge that by one means or another, the laws of Florida, Washington, Oregon,
 7   Georgia, Pennsylvania, and Texas also prohibit consumer waivers of public injunctive
 8   relief. Instead, Tesla contends—without support in published case law—that even in the
 9   case of Plaintiffs’ claims for public injunctive relief, this Court must defer to the liability
10   findings of multiple private arbitrators. This procedure is not only contrary to law, it is
11   impractical, inconsistent with established public policies, and puts the public at
12   significant risk of catastrophic injury or death.
13          Indeed, this is a prototypical case illustrating why legislatures and courts have
14   established public policies forbidding consumers from waiving claims for public
15   injunctive relief. When this litigation was filed in January 2020, there had been 101
16   complaints of sudden uncommanded acceleration under nearly identical circumstances
17   since 2013. By the time the Second Amended Complaint (the SAC) was filed six months
18   later, there were 192 complaints. And in the six weeks since the SAC’s filing, Plaintiffs’
19   counsel has learned of four more identical sudden uncommanded acceleration incidents.
20   It is precisely because Tesla is attempting to delay and obfuscate the threat its vehicles
21   pose to public safety that this Court should enforce consumer protection laws for the
22   general public’s benefit and safety. The Court should not delegate this important function
23   to private arbitration rules that are devoid of the right to discovery, rules of evidence, and
24   appellate review. The law requires that Tesla be held to answer Plaintiffs’ allegations in
25   this forum.
26                             II      PROCEDURAL BACKGROUND
27          The central defect Plaintiffs allege in the SAC is that Tesla vehicles often
28   experience surprise, instant full power acceleration when moving slowly or completely

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     Pls.’ Opp’n to Def.’s Mot. to Compel Arbitration
     Case No. 2:20-cv-00570-JVS-KES
 Case 2:20-cv-00570-JVS-KES Document 48 Filed 08/24/20 Page 10 of 28 Page ID #:2136




 1   stopping. This phenomenon most often occurs while the driver is in the process of
 2   parking, but is not caused by the driver commanding the vehicle’s acceleration by
 3   pressing on the accelerator pedal. The surprise acceleration results in the vehicle colliding
 4   with whatever structures or objects (or, inevitably, people) happen to be in front of it.
 5          To understand just how serious and pervasive a problem this is, one need only look
 6   at the reported instances of sudden uncommanded acceleration in Tesla vehicles
 7   compared to historical averages reported from all vehicles. As the SAC alleges, a NASA
 8   study of unintended acceleration reports to the National Highway Traffic Safety
 9   Administration (NHTSA) from 2000 to 2010 found that the average rate of SUA
10   incidents among all vehicles on the road in the United States was 1 per 100,000 vehicles
11   per year. From the 8-year period of 2013 through 2019, Tesla is reported to have sold
12   543,540 vehicles. (See Corrected Second Amended Compl., Dkt. No. 43, ¶¶ 85-95.) Even
13   if one assumed that all 543,540 Tesla vehicles had been operating during that 8-year
14   period, NHTSA would have predicted, on average, only 5.4 annual complaints (or 43
15   total) of sudden uncommanded acceleration in Tesla vehicles. In fact, during that same
16   period, NHTSA received 192 sudden uncommanded acceleration complaints—nearly
17   five times the expected result. Now factor in that Tesla has sold half those vehicles just
18   since 2018, and that the sudden uncommanded acceleration occurrences actually reported
19   to NHTSA constitute only a fraction of the total number of occurrences overall, and it
20   becomes clear that this extremely dangerous condition is all too prevalent in Tesla
21   vehicles. In fact, they experience sudden uncommanded full power acceleration at well
22   over 10 times the expected historical rate—with each such instance potentially
23   threatening grave physical injury or death.
24          The twenty-four Plaintiffs named in this litigation have each experienced sudden
25   uncommanded acceleration in their Tesla vehicles, all but one resulting in a collision.
26   These Plaintiffs represent putative classes of Tesla owners and lessees from 11 states.
27
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     Pls.’ Opp’n to Def.’s Mot. to Compel Arbitration
     Case No. 2:20-cv-00570-JVS-KES
 Case 2:20-cv-00570-JVS-KES Document 48 Filed 08/24/20 Page 11 of 28 Page ID #:2137




 1   A.     Plaintiffs for Whom Tesla Is Not Seeking to Compel Arbitration
 2          Tesla does not seek to compel arbitration of the claims of the following six
 3   Plaintiffs who purchased or leased a Tesla vehicle before Tesla began inserting
 4   arbitration provisions into its standard order and purchase agreements:
 5             • Yufei Wu (California)
 6             • Sanjay Chopra (Arizona)
 7             • Helen Whatmough (Arizona)
 8             • William Doyle (Massachusetts)
 9             • Laverne Jackson (New Jersey)
10             • Hasnin Syed (Texas)
11          Therefore, regardless of the Court’s ruling on the instant motion, this litigation will
12   proceed in this Court for these Plaintiffs, the putative National Class, and the putative
13   sub-classes comprised of Tesla owners in California, Arizona, Massachusetts, New
14   Jersey, and Texas.
15   B.     The Arbitration Provisions
16          Up until 2016, Tesla did not attempt to bind its customers to settling disputes
17   through private confidential arbitration, nor require that its customers waive their rights
18   to seek relief through class action litigation. But eventually Tesla followed the examples
19   of credit card companies, banks, and cell phone providers by inserting a mandatory
20   arbitration clause in the model order agreements and model purchase contracts.
21          The provisions pertinent to the issues addressed herein are the following:
22             • “If not resolved within 60 days, you agree that any dispute arising out of or
23                 relating to any aspect of the relationship between you and Tesla will not be
24                 decided by a judge or jury but instead by a single arbitrator in an arbitration
25                 administered by the American Arbitration Association (AAA) under its
26                 Consumer Arbitration Rules.”
27             • “The arbitrator may only resolve disputes between you and Tesla, and may
28                 not consolidate claims without the consent of all parties. The arbitrator

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     Pls.’ Opp’n to Def.’s Mot. to Compel Arbitration
     Case No. 2:20-cv-00570-JVS-KES
 Case 2:20-cv-00570-JVS-KES Document 48 Filed 08/24/20 Page 12 of 28 Page ID #:2138




 1                  cannot hear class or representative claims or requests for relief on behalf of
 2                  others purchasing or leasing Tesla vehicles. In other words, you and Tesla
 3                  may bring claims against the other only in your or its individual capacity and
 4                  not as a plaintiff or class member in any class or representative action.”
 5               • “If a court or arbitrator decides that any part of this agreement to arbitrate
 6                  cannot be enforced as to a particular claim for relief or remedy (such as
 7                  injunctive or declaratory relief), then that claim or remedy (and only that
 8                  claim or remedy) shall be severed and must be brought in court and any
 9                  other claims must be arbitrated.
10   (See Ahluwalia Decl., Dkt No. 44-35, Ex. 5, at p. 33.)
11          1.      Consumer Arbitration Rules
12          The arbitration provisions Tesla seeks to enforce specify that disputes must be
13   resolved by a single arbitrator in an arbitration administered by the American Arbitration
14   Association (AAA) under its Consumer Arbitration Rules. This is significant because
15   AAA’s Consumer Arbitration Rules do not ensure the ability of a party to seek discovery,
16   as exists in state and federal courts. Rather, the Consumer Arbitration Rules provide:
17                 R-22. Exchange of Information between the Parties
18                  (a) If any party asks or if the arbitrator decides on his or her
                    own, keeping in mind that arbitration must remain a fast and
19                  economical process, the arbitrator may direct
20                         1) specific documents and other information to be shared
                           between the consumer and business, and
21
                           2) that the consumer and business identify the witnesses,
22                         if any, they plan to have testify at the hearing.
23                  (b) Any exhibits the parties plan to submit at the hearing need
                    to be shared between the parties at least five business days
24                  before the hearing, unless the arbitrator sets a different
                    exchange date.
25
                    (c) No other exchange of information beyond what is
26                  provided for in section (a) above is contemplated under
                    these Rules, unless an arbitrator determines further information
27                  exchange is needed to provide for a fundamentally fair process.
28                  (d) The arbitrator has authority to resolve any disputes between
                    the parties about exchanging information.
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     Pls.’ Opp’n to Def.’s Mot. to Compel Arbitration
     Case No. 2:20-cv-00570-JVS-KES
 Case 2:20-cv-00570-JVS-KES Document 48 Filed 08/24/20 Page 13 of 28 Page ID #:2139




 1   American Arbitration Association, Consumer Arbitration Rules, Rule 22.
 2          As the Consumer Finance Protection Bureau explained in a 2015 report to
 3   Congress:
 4                 [L]imited discovery rights are the hallmark of arbitration.
                   Arbitration rules on discovery (often called the “exchange of
 5                 information”) ordinarily do not track the detailed discovery
                   provisions nor the broad scope of discovery under the Federal
 6                 Rules of Civil Procedure, and generally envision less discovery
                   than would be available in court. . . .
 7
                   Arbitration rules on discovery do not allow for broad discovery
 8                 from third parties, which were not parties to the underlying
                   agreement to arbitrate disputes.
 9
10   Consumer Financial Protection Bureau, Arbitration Study (March 2015).
11          2.     Arbitrator Cannot Hear Class and Representative Claims and Requests
12                 for Relief on Behalf of Others Purchasing or Leasing Tesla Vehicles
13          The arbitration provision expressly prohibits an arbitrator from hearing “class or
14   representative claims or requests for relief on behalf of others purchasing or leasing Tesla
15   vehicles.” (See Ahluwalia Decl., Dkt No. 44-35, Ex. 5, at p. 33.) Therefore, as will be
16   discussed in greater detail below, the contract expressly forbids the arbitrator from
17   hearing not only claims asserted on behalf of the putative class members, but also
18   Plaintiffs’ claims for public injunctive relief. Contrary to Tesla’s assertion that the
19   arbitrator should be allowed to decide issues of liability under the consumer protection
20   statutes through which Plaintiffs are seeking public injunctive relief, its own arbitration
21   provisions expressly preclude the arbitrator from hearing such “claims or requests for
22   relief.”
23          3.     Severability of Claims for Injunctive and Declaratory Relief
24          Finally, the Tesla arbitration provision contains a severability clause that expressly
25   provides that “[i]f a court or arbitrator decides that any part of this agreement to arbitrate
26   cannot be enforced as to a particular claim for relief or remedy (such as injunctive or
27   declaratory relief), then that claim or remedy (and only that claim or remedy) shall be
28   severed and must be brought in court and any other claims must be arbitrated.” (See

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     Pls.’ Opp’n to Def.’s Mot. to Compel Arbitration
     Case No. 2:20-cv-00570-JVS-KES
 Case 2:20-cv-00570-JVS-KES Document 48 Filed 08/24/20 Page 14 of 28 Page ID #:2140




 1   Ahluwalia Decl., Dkt No. 44-35, Ex. 5, at p. 33.) Significantly, this provision specifically
 2   refers to both “claims” and “requests for remedy.”
 3                                          III    ARGUMENT
 4   A.       The Alleged Waivers of Plaintiffs’ Claims for Public Injunctive Relief Are
 5            Against Public Policy and Cannot Be Enforced
 6            Tesla anticipates several of Plaintiffs’ arguments that their claims are not arbitrable
 7   because consumers cannot waive their right to seek public injunctive relief. But there are
 8   several flaws with Tesla’s foreshadowing. First, it is not only the California Plaintiffs
 9   whose right to seek public injunctive relief cannot be waived by private contractual
10   agreement. Tesla cites McGill v. Citibank, N.A., 2 Cal. 5th 945 (2017) with regard to
11   California law, but fails to discuss the law of several other pertinent states that also forbid
12   enforcement of such waivers. These additional states include Florida, Washington,
13   Oregon, Georgia, Pennsylvania, and Texas. As a result, Plaintiffs Lee, Xia, Ahronee,
14   Arroyave, Rodriguez, Wu, Gucwa, Hutcheson, Curley, Zhang, Guzman, Rakestraw,
15   Bharadwaj, Hensel, Sallurday, Sallurday, and Gleason are all entitled to bring claims for
16   public injunctive relief in this court.
17            Tesla does not bother to argue that McGill does not apply to the California
18   Plaintiffs’ claims—because it does—but instead argues that even if “McGill does apply to
19   certain requested remedies,” Plaintiffs must “arbitrate the initial question of liability on
20   all their claims.” Tesla cites an unpublished Northern District of California case for this
21   premise, ignoring that this case—like all arbitration cases—is governed by the plain
22   language of the arbitration clause in this case, not some other. And when the Court
23   reviews the arbitration provision in this case, it will see that the parties unambiguously
24   agreed that a “claim” that is unenforceable in court should be “severed and must be
25   brought in court,” as opposed to just the underlying injunctive remedy being pursued in
26   court.
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     Pls.’ Opp’n to Def.’s Mot. to Compel Arbitration
     Case No. 2:20-cv-00570-JVS-KES
 Case 2:20-cv-00570-JVS-KES Document 48 Filed 08/24/20 Page 15 of 28 Page ID #:2141




 1          1.     California Law Forbids the Parties from Waiving a Consumer’s Right
 2                 to Seek Public Injunctive Relief
 3          The California Plaintiffs allege that Tesla has violated the California Unfair
 4   Competition Law, Cal. Bus. & Prof. Code § 17200, the Consumers Legal Remedies Act,
 5   Cal. Civ. Code § 1750, and California’s false advertising law, Cal. Bus. & Prof. Code
 6   § 17500). The statutory remedies for all three of these laws include the possibility of
 7   public injunctive relief, i.e., injunctive relief with the primary purpose and effect of
 8   prohibiting unlawful acts that threaten future injury to the general public. In McGill, the
 9   California Supreme Court analyzed an arbitration clause in which the plaintiffs brought
10   similar claims but had entered into an arbitration clause with the defendant that forbade
11   any of the plaintiffs from seeking anything but individual relief. McGill, 2 Cal. 5th at
12   956. The governing arbitration clause in McGill provided that all claims had to be
13   “brought in the name of an individual person or entity” and that the arbitrator could not
14   issue relief on anything other than an “individual” basis. Id. at 952.
15          After confirming that the McGill plaintiffs could seek public injunctive relief under
16   the applicable statutes, the McGill court turned to the question of whether the plaintiffs
17   could waive those claims. But pointing to California Civil Code § 3513, the McGill court
18   confirmed that California statutory law forbade the parties from entering into a
19   contractual waiver because California forbids “a law established for a public reason”
20   from being “contravened by a private agreement.” Because the public injunctive relief
21   sought under the relevant statutes is primarily “for the benefit of the general public,” the
22   McGill plaintiffs could not agree to waive away their right to seek that relief. Id. at 961
23   (“[T]he waiver in a predispute arbitration agreement of the right to seek public injunctive
24   relief under these statutes would seriously compromise the public purposes the statutes
25   were intended to serve.”). The McGill court then held that the Federal Arbitration Act did
26   not preempt the application of California Civil Code § 3513 to void the attempted waiver.
27   Id. at 964. The Ninth Circuit has since confirmed McGill’s holdings. See Blair v. Rent-A-
28   Center, Inc., 928 F.3d 819, 822 (9th Cir. 2019). And several district courts have applied

                                                        8
     Pls.’ Opp’n to Def.’s Mot. to Compel Arbitration
     Case No. 2:20-cv-00570-JVS-KES
 Case 2:20-cv-00570-JVS-KES Document 48 Filed 08/24/20 Page 16 of 28 Page ID #:2142




 1   the McGill rule to deny motions to compel arbitration governed by California law for
 2   similar reasons. See Cottrell v. AT&T Inc., No. 19-cv-07672-JCS, 2020 WL 2747774, at
 3   *5 (N.D. Cal. May 27, 2020) (“The arbitration agreement in this case, however, prevents
 4   an arbitrator from awarding public injunctive relief . . . .”); Rogers v. Lyft, Inc., --- F.
 5   Supp. 3d ---, 2020 WL 1684151, at *8 (N.D. Cal. Apr. 7, 2020) (“The arbitration
 6   agreement’s prohibition on public injunctions is therefore unenforceable.”); Olosoni v.
 7   HRB Tax Grp., No. 19-cv-03610-SK, 2019 WL 7576680, at *4 (“[T]he statutory schemes
 8   set out in ‘the UCL, the CLRA, and the false advertising law’ are explicitly designed to
 9   provide for ‘public injunctive relief’ that is ‘by definition’ ‘primarily for the benefit of the
10   general public.’”) (quoting McGill, 2 Cal. 5th at 961).
11          2.     Other States Also Forbid Consumers From Waiving Claims For Public
12                 Injunctive Relief
13          Tesla all but concedes that the California Plaintiffs’ claims for public injunctive
14   relief must be heard in court, but it asserts that none of the other Plaintiffs have the same
15   rights. But the law of most of the states governing Plaintiffs’ claims leads to the same
16   result as McGill does in California law.1
17                        a.      Florida
18          Florida Plaintiffs Gucwa and Hutcheson can also bring their public injunctive
19   claims in this Court under the same logic as the California Supreme Court employed in
20   McGill. The Florida Deceptive and Unfair Trade Practices Act (FDUTPA) allows
21   individual consumers to seek injunctive relief for the benefit of the public. See Fla. Stat. §
22   501.211 (“Without regard to any other remedy or relief to which a person is entitled,
23
24   1
       The choice of law provision in the Tesla contracts provides that the Agreement is
25   governed and interpreted by the laws of the Plaintiffs’ home states. (See e.g., Decl. of
26   Jasjit Ahluwalia, Dkt No. 44-31, Ex. 1 (Motor Vehicle Order Agreement), at p. 15 (“The
     terms of this Agreement are governed by, and to be interpreted according to, the laws of
27
     the State in which we are licensed to sell motor vehicles that is nearest to your address
28   indicated on your Vehicle Configuration.”); and Ex. 4 (Motor Vehicle Purchase
     Agreement) (same).)
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     Pls.’ Opp’n to Def.’s Mot. to Compel Arbitration
     Case No. 2:20-cv-00570-JVS-KES
 Case 2:20-cv-00570-JVS-KES Document 48 Filed 08/24/20 Page 17 of 28 Page ID #:2143




 1   anyone aggrieved by a violation of this part may bring an action to obtain a declaratory
 2   judgment that an act or practice violates this part and to enjoin a person who has violated,
 3   is violating or is otherwise likely to violate this part.”); Davis v. Powertel, Inc., 776 So.2d
 4   971, 974 (Fla. App. 2000) (“The Act is designed to protect not only the rights of litigants,
 5   but also the rights of the consuming public at large. . . . It follows that an aggrieved party
 6   may pursue a claim for declaratory or injunctive relief under the Act, even if the effect of
 7   those remedies would be limited to the protection of consumers who have not yet been
 8   harmed by the unlawful trade practice.”). Florida law also holds that “[a]ny attempt to
 9   limit FDUTPA liability is contrary to public policy.” Holt v. O’Brien Imports of Fort
10   Myers, Inc., 862 So. 2d 87, 89 (Fla. App. 2003). Indeed, Florida law holds that an
11   individual “cannot waive the protection of a statute that is designed to protect both the
12   public and the individual.” Id. (citing Coastal Caisson Drill Co. v. Am. Cas. Co., 523 So.
13   2d 791, 793 (Fla. App. 1988), aff’d, 542 So. 2d 957 (Fla. 1989)). Florida law thus permits
14   Plaintiffs to pursue their clams in this court.
15                        b.      Washington
16          The same is true for Washington Plaintiff Zhang. The Washington Consumer
17   Protection Act (WCPA) authorizes individual consumers to seek injunctive relief. See
18   Scott v. Cingular Wireless, 161 P.3d 1000 (Wash. 2007) (“Consumers bringing actions
19   under [the WCPA] do not merely vindicate their own rights; they represent the public
20   interest and may seek injunctive relief even when the injunction would not directly affect
21   their own private interest.”). Indeed, the WCPA requires that a properly alleged claim
22   have some affect on the public interest. See Sloan v. Thompson, 115 P.3d 1009 (Wash.
23   App. 2005). And Washington law confirms it is “well settled” that “an individual may not
24   waive a right where such a waiver violates public policy.” See Shoreline Cmty. Coll. Dist.
25   No. 7 v. Emp. Sec. Dept., 842 P.2d 938, 947 (Wash. 1992). Indeed, “the requirements of a
26   statute enacted for the public good may not be nullified or varied by contract.” Id. (citing
27   Grandview Inland Fruit Co. v. Hartford Fire Ins. Co., 66 P.2d 827 (Wash. 1937)). Again,
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     Pls.’ Opp’n to Def.’s Mot. to Compel Arbitration
     Case No. 2:20-cv-00570-JVS-KES
 Case 2:20-cv-00570-JVS-KES Document 48 Filed 08/24/20 Page 18 of 28 Page ID #:2144




 1   this is the same reasoning the California Supreme Court employed in McGill to forbid
 2   waiver of a claim for public injunctive relief.
 3                        c.      Oregon
 4          Oregon Plaintiff Curley is also entitled to seek public injunctive relief in this Court
 5   because Oregon follows the same logic as Washington. First, the Oregon Unfair Trade
 6   Practices Act provides that an Oregon resident with standing may bring an “individual
 7   action in an appropriate court,” and that court may “provide any equitable relief the court
 8   considers necessary or proper.” Or. St. § 646.638. The Oregon Supreme Court has
 9   established that the statute’s private right of action is “designed to encourage private
10   enforcement of the prescribed standards of trade and commerce in aid of the act’s public
11   policies as much as to provide relief to the injured party.” Weigel v. Ron Tonkin
12   Chevrolet Co., 690 P.2d 488, 494 (Or. 1984). The same court has also held that under
13   Oregon law, “statutory rights may be waived, but only to the extent that they serve no
14   broader public policy but are directed solely to the protection of the individual who
15   purports to waive them.” In re Leisure, 82 P.3d 144, 1458 (Or. 2003). This is the same
16   formula as the courts in California, Florida, and Washington follow.
17                        d.      Georgia
18          Georgia Plaintiffs Bharadwaj and Hensel may also pursue public injunctive relief
19   under Georgia law, again applying the California Supreme Court’s logic in McGill. The
20   Georgia Uniform Deceptive Trade Practices Act (“GUDTPA”) states that a “person
21   likely to be damaged by a deceptive trade practice of another may be granted an
22   injunction against it under the principles of equity and on terms that the court considers
23   reasonable.”2 Ga. Code § 10-1-373. Indeed, when automotive manufacturers like Tesla
24
25   2
       Although Plaintiffs do not specifically plead the GUDTPA, California courts permit
26   parties seeking equitable relief to obtain that relief even if the statutory grounds for that
     relief are not artistically laid out in the complaint. The key consideration is whether the
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     party seeking equitable relief has stated factual grounds for that relief, which Plaintiffs
28   have. See Erskine v. Upham, 132 P.2d 219 (Cal. App. 1942) (“[W]hen a party comes into

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     Pls.’ Opp’n to Def.’s Mot. to Compel Arbitration
     Case No. 2:20-cv-00570-JVS-KES
 Case 2:20-cv-00570-JVS-KES Document 48 Filed 08/24/20 Page 19 of 28 Page ID #:2145




 1   utilize “band-aid” measures like the Obstacle-Aware acceleration algorithm that fail to
 2   truly address a defect, courts have held that a plaintiff’s allegations sufficiently state
 3   grounds for an injunction under the GUDTPA. (See, e.g., Corrected Second Amended
 4   Compl., Dkt No. 43, ¶ 101.) See also In re: FCA US LLC Monostable Electronic
 5   Gearshift Litig., 355 F. Supp. 3d 582, 597 (E.D. Mich. 2018) (denying defendant's
 6   motion to dismiss GUDTPA claim where “the existence of an alleged defect, coupled
 7   with failed attempts at repairs, or ‘band aid’ fixes only, along with representations made
 8   after each repair that the vehicles are free from the defect, is sufficient to establish likely
 9   future harm resulting from similar unsatisfactory efforts by the defendant to skirt liability
10   for the problem without an effective fix”).
11          Georgia law also prohibits contracts that place the “public at risk for abusive
12   behavior that would harm the public.” In re Ambrose, 568 B.R. 716, 721 (Bankr. N.D.
13   Ga. 2017). Although courts interpreting Georgia law have never considered whether the
14   public’s right to the protections afforded by the GUDTPA may be contracted away
15   through arbitration provisions, those protections are plainly the sort that would threaten
16   public well-being if contracted away. A keystone consideration in determining whether a
17   contract infringes on the public’s right is whether the “only parties who would be affected
18   by th[e] provision are the contracting parties.” Id. Here, Defendant seeks to deny the
19   public the injunctive protection afforded by the GUDTPA through individual contracts,
20   and to the extent those arbitration contracts seek to bar claims for public injunctive relief,
21   they are void.
22                        e.      Pennsylvania
23          Pennsylvania Plaintiffs Sallurday, Sallurday, and Gleason are also entitled to
24   pursue injunctive relief in this Court. The Pennsylvania Unfair Trade Practices and
25
26
     a court of equity pleading facts which entitle him to some equitable relief, . . .
27
     notwithstanding the form of the pleading, [the court] will disregard the specific prayers in
28   order to grant the relief which the proof warrants as within the equities of the entire
     case.”).
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     Pls.’ Opp’n to Def.’s Mot. to Compel Arbitration
     Case No. 2:20-cv-00570-JVS-KES
 Case 2:20-cv-00570-JVS-KES Document 48 Filed 08/24/20 Page 20 of 28 Page ID #:2146




 1   Consumer Protection Law grants courts broad discretion to fashion relief for violations of
 2   the statute, including “award[ing] up to three times the actual damages sustained, but not
 3   less than one hundred dollars ($100), and . . . provid[ing] such additional relief as it
 4   deems necessary or proper.” 73 Pa. Stat. § 201-9.2 (emphasis added). Notably, the statute
 5   does not expressly preclude a court from issuing injunctive relief.
 6          Additionally, Pennsylvania courts have recognized that contracts are unenforceable
 7   to the extent they undermine “statutory enactments.” Hall v. Amica Mut. Ins. Co., 538 Pa.
 8   337, 347, 648 A.2d 755, 760 (1994). Because Pennsylvania law authorizes private
 9   individuals to seek out and obtain an injunction for violations of Pennsylvania’s
10   consumer protection laws, the arbitration agreement is unenforceable to the extent it
11   seeks to curtail that statutory right.
12                        f.      Texas
13          Finally, Texas Plaintiffs Guzman and Rakestraw may also pursue their right to
14   seek public injunctive relief in this Court. In their case, the plain language of the Texas
15   Deceptive Trade Practices and Consumer Protection Act (TDTPCPA) forbids Tesla from
16   seeking the protections of the asserted contractual waiver. See Tex. Bus. & Com. Code
17   § 17.41, et seq. Texas Business and Commerce Code § 17.50 permits a consumer to
18   maintain a private right of action and permits any prevailing consumer with a successful
19   claim to obtain “an order enjoining such acts or failure to act.” In turn, the Texas
20   Legislature expressly provides that “any waiver by a consumer” of any right provided for
21   in the TDTPCPA is “contrary to public policy and is unenforceable and void,” absent the
22   existence of a series of requirements that do not exist here. Tex. Bus. & Com. Code
23   § 17.42.
24          For example, a waiver of the TDTPCPA’s provisions is enforceable only if the
25   consumer is not in a “significantly disparate bargaining position.” Id. Each of the
26   contracts at issue here were contracts of adhesion presented to the Plaintiffs on a take-it-
27   or-leave-it basis, and thus they had no opportunity to bargain at all. Nor is there any
28   evidence that either Plaintiff was represented by legal counsel in purchasing their

                                                        13
     Pls.’ Opp’n to Def.’s Mot. to Compel Arbitration
     Case No. 2:20-cv-00570-JVS-KES
 Case 2:20-cv-00570-JVS-KES Document 48 Filed 08/24/20 Page 21 of 28 Page ID #:2147




 1   vehicles, as the statute requires. Id. And there is no heading called “Waiver of Consumer
 2   Rights,” nor a sufficient warning that either Plaintiff was waiving the specific rights the
 3   TDTPCPA grants them. Id.
 4          3.     Each Plaintiff’s Contract Bars Plaintiff from Seeking Public Injunctive
 5                 Claims in any Forum
 6          Tesla argues that even if the McGill rule—as expressed in various ways by the
 7   state law described above—applies to Plaintiffs’ claims, “it would not relieve Plaintiffs of
 8   the obligation to arbitrate the initial question of liability on all their claims.” (Mot. at 19
 9   (citing Dornaus v. Best Buy Co., No. 18-CV-04085-PJH, 2019 WL 632957, at *6 (N.D.
10   Cal. Feb. 14, 2019)).) But what remains for this Court to decide is not the subject of an
11   unpublished Northern District of California case analyzing a different contract, but the
12   language of the contracts between Tesla and the Plaintiffs and controlling Ninth Circuit
13   authority. Interestingly, although Defendant expressly acknowledges that this Court is
14   bound by Blair v. Rent-A-Center, Inc., 928 F.3d 819 (9th Cir. 2019), with regard to the
15   holding in McGill not being preempted by the FAA, Defendant fails to discuss that the
16   Blair opinion also rejected the argument Tesla makes here that Plaintiffs must arbitrate
17   the liability issues relating to their claims as a predicate to seeking public injunctive relief
18   from the Court.
19          In Blair, as here, the defendant contended that the severance clause carved out only
20   the potential public injunctive remedy available under the alleged consumer-protection
21   causes of action, and that the parties had agreed to allow the arbitrator to adjudicate
22   liability. In doing so, the defendant read “claim for relief” in the severance clause to refer
23   only to a particular remedy, not to the entirety of the underlying claim. Id.at 831. The
24   Ninth Circuit rejected this argument, as had the District Court, holding:
25               The severance clause refers to “a particular claim for relief,”
                 but it then goes on to require, a few words later in the same
26               sentence, severance of “that claim” from the arbitration in order
                 to allow it to “be brought in court.” A “claim for relief,” as that
27               term is ordinarily used, is synonymous with “claim” or “cause
                 of action.” See, e.g., Fed. R. Civ. P. 8(a) (interchangeably using
28               “claim” and “claim for relief,” and using “demand for relief
                 sought” to refer specifically to requested remedy); Claim,
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     Pls.’ Opp’n to Def.’s Mot. to Compel Arbitration
     Case No. 2:20-cv-00570-JVS-KES
 Case 2:20-cv-00570-JVS-KES Document 48 Filed 08/24/20 Page 22 of 28 Page ID #:2148




 1                 Black’s Law Dictionary (10th ed. 2014) (noting that a “claim”
                   is “[a]lso termed claim for relief”); Claim for relief, Black’s
 2                 Law Dictionary (10th ed. 2014) (referencing definition for
                   “claim”); In re Ocwen Loan Serv., LLC Mortg. Serv. Litig., 491
 3                 F.3d 638, 646 (7th Cir. 2007) (“The eighth claim is purely
                   remedial; it seeks injunctive relief. Of course it is not a claim,
 4                 that is, a cause of action, and should not have been labeled as
                   such ....”); Cannon v. Wells Fargo Bank N.A., 917 F. Supp. 2d
 5                 1025, 1031 (N.D. Cal. 2013) (“[E]quitable relief is not a claim
                   for relief but rather only a remedy.”). We read the clause, as did
 6                 the district court, to provide that the entire claim be severed for
                   judicial determination.
 7
 8   Id. at 831–32.
 9          Here, as in Blair, in most cases, Tesla’s contracts with the Plaintiffs explain that
10   “you and Tesla may bring claims against the other only in your or its individual capacity
11   and not as a plaintiff or class member in any class or representative action.” (See, e.g.,
12   Ahluwalia Decl. Ex. 5, at p. 33 (emphasis added).) Those agreements then explain that “if
13   a court or arbitrator decides that any part of this agreement to arbitrate cannot be enforced
14   as to a particular claim for relief or remedy (such as injunctive or declaratory relief, then
15   that claim or remedy (and only that claim or remedy) shall be severed and must be
16   brought in court and any other claims must be arbitrated.” (Id.)
17          The agreement here provides that either a “claim for relief or remedy” can be
18   severed, but that does not change the result. Just as in Blair, the agreement is
19   unenforceable as to a “particular claim for relief”—a claim for public injunctive relief. As
20   such, that claim for public injunctive relief—synonymous with “claim” or “cause of
21   action”—is what should be severed and heard by the Court.
22          Tesla attempts to focus the Court on the unpublished decision in Dornaus, but that
23   Court took an overly narrow view of what Plaintiffs are entitled to do under California
24   law in any event. The McGill court held that “the FAA does not require enforcement of a
25   provision in a predispute arbitration agreement that, in violation of generally applicable
26   California contract law, waives the right to seek in any forum public injunctive relief
27   under the UCL, the CLRA, or the false advertising law.” 2 Cal. 5th at 963. Tesla asserts
28   that this limits a court’s jurisdiction to issuing the injunctive remedy only.

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     Pls.’ Opp’n to Def.’s Mot. to Compel Arbitration
     Case No. 2:20-cv-00570-JVS-KES
 Case 2:20-cv-00570-JVS-KES Document 48 Filed 08/24/20 Page 23 of 28 Page ID #:2149




 1          But this position undermines McGill’s rationale in the first place. According to the
 2   McGill court, the public injunctive relief available under the relevant statutes is “to
 3   remedy a public wrong,” not to “resolve a private dispute.” Id. at 962. To suggest that
 4   waiving a “claim for public injunctive relief” somehow limits this Court to issuing the
 5   injunctive remedy after liability is decided constitutes a “serious[] compromise [of] the
 6   public purposes the statutes were intended to serve.” Id. Put another way, every part of
 7   these consumer-oriented statutes was adopted to remedy wrongs that have a broad effect
 8   on the public, and thus a plaintiff cannot agree to carve off the public injunctive relief
 9   remedy alone in the manner Tesla suggests.
10          This analysis is consistent with the word “claim,” just as the Ninth Circuit
11   explained in Blair. Like the Ninth Circuit, the California courts consistently reference a
12   “claim for injunctive relief” under the pertinent statutes as including all elements of the
13   underlying UCL claim—not merely the injunctive remedy.3 See In re Tobacco II Cases,
14   46 Cal. 4th 298, 312-313 (2009) (describing various elements of common-law fraud that
15   are not required to “state a claim for injunctive relief under the UCL”); Day v. AT&T
16   Corp., 63 Cal. App. 4th 325, 332-333 (1998); Tucker v. Pac. Bell Mobile Servs., 208 Cal.
17   App. 4th 201, 230 (2012) (holding that plaintiffs failed to plead UCL claim for restitution
18   but did plead UCL claim for classwide injunctive relief). This is also consistent with the
19   interchangeability of the terms “claim” and “cause of action.” Blair, 928 F.3d at 831-32.4
20          The Dornaus court also used the wrong standard when it came to interpreting the
21   underlying contract. After analyzing the pertinent arbitration clause, it correctly held that
22   the procedure for enforcing the agreement would be the “specific procedures contracted
23
24   3
       The California Supreme Court has called injunctive relief the “primary form of relief
25   available under the UCL to protect consumers from unfair business practices.” Kwikset
26   Corp. v. Superior Court, 51 Cal. 4th 310, 337 (2011).
     4
       What is implied for the California and other state Plaintiffs whose claims are described
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     here is expressed without a doubt in Texas law. Because the Texas Plaintiffs’ waivers do
28   not satisfy Texas’ statutory waiver requirements, they by definition retain all their rights
     to bring their claims, not just remedies.
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     Pls.’ Opp’n to Def.’s Mot. to Compel Arbitration
     Case No. 2:20-cv-00570-JVS-KES
 Case 2:20-cv-00570-JVS-KES Document 48 Filed 08/24/20 Page 24 of 28 Page ID #:2150




 1   to by the parties.” Dornaus, 2019 WL 632957, at *3-4. But then when the Dornaus court
 2   discussed the underlying language of the contract, it held that the phrase “there can be no
 3   arbitration of a class or representative Claim” did not cover a “public injunctive relief
 4   remedy” because a “public injunctive relief remedy is not a class or representative
 5   claim.” Id. The court cited McGill for that premise, but contracts are interpreted “to give
 6   effect to the mutual intention of the parties as it existed at the time of contracting, so far
 7   as the same is ascertainable and lawful.” Hess v. Ford Motor Co., 27 Cal. 4th 516, 524
 8   (2002). That intent is interpreted objectively. See Wolf v. Walt Disney Pictures &
 9   Television, 162 Cal. App. 4th 1107, 1126 (2008).
10          But the language of Tesla’s arbitration agreement goes further than did the
11   language in Dornaus. First, in Dornaus, the arbitration provision expressly provided that
12   “all claims are subject to arbitration, no matter what legal theory they’re based on or what
13   remedy (damages, or injunctive or declaratory relief) they seek.” Dornaus, 2019 WL
14   632957, at *2. The district court observed that the limitation on arbitrability was only that
15   “[c]laims brought as part of a class action, private attorney general or other representative
16   action can be arbitrated only on an individual basis [and] [t]he arbitrator . . . may only
17   award relief on an individual basis.” Id. Based on this language, the Dornaus court held
18   that a claim for public injunctive relief did not include arbitration of a “representative
19   claim” because the McGill court stated that a UCL claim is not a “representative action”
20   and, therefore, the claim leading to public injunctive relief was subject to arbitration, but
21   that the remedy was not. Id. at *6.
22          By contrast, Tesla’s arbitration agreement provides not only that the arbitrator is
23   not authorized to hear “class or representative claims or requests,” but also, “requests for
24   relief on behalf of others purchasing or leasing Tesla vehicles.” (Ahluwalia Decl., Dkt
25   No. 44-35, Ex. 5, at p. 33.) Furthermore, not only does the contract language expressly
26   bar the arbitration of requests for relief on behalf of others, but it then goes on to specific
27   cite “injunctive and declaratory relief” as an example of a “claim for relief or remedy”
28   that “shall be severed and brought in court and any other claims must be arbitrated. (Id.)

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     Pls.’ Opp’n to Def.’s Mot. to Compel Arbitration
     Case No. 2:20-cv-00570-JVS-KES
 Case 2:20-cv-00570-JVS-KES Document 48 Filed 08/24/20 Page 25 of 28 Page ID #:2151




 1   This alone compels the result in Blair and distinguishes the instance case from what the
 2   district court held in Dornaus.
 3            Moreover, Tesla’s contract doesn’t reference any legal definition of the word
 4   “representative”—the test is what an objective reader would have believed that word
 5   meant at the time he or she entered into the contract. The dictionary definition of
 6   “representative” is “someone who speaks or does something officially for another person
 7   or group of people.”5 At the very least, then, Tesla’s contract is ambiguous regarding
 8   whether it intended to bar UCL claims for public injunctive relief as part of a
 9   “representative action.” (Ahluwalia Decl., Dkt No. 44-35, Ex. 5.) And since the
10   arbitration clause is at least ambiguous, it must be interpreted against Tesla as the drafter.
11   Sandquist v. Lebo Auto., Inc., 1 Cal. 5th 233, 248 (2016) (“Where the drafter of a form
12   contract has prepared an arbitration provision whose application to a particular dispute is
13   uncertain, ordinary contract principles require that the provision be construed against the
14   drafter’s interpretation and in favor of the nondrafter’s interpretation.”)
15            Finally, even if this Court remains inclined to split the claims from the injunctive
16   remedy for those Plaintiffs that signed a Tesla agreement, it cannot do so for those that
17   signed the standard retail installment contract of their home states. Each of those
18   contracts provides that “no arbitration award or decision will have any preclusive effect
19   as to issues or claims in any dispute with anyone who is not a named party to the
20   arbitration.” (Ahluwalia Decl., Dkt No. 43-38, Ex. 8, at p. 47.) That language expressly
21   disclaims the kind of preclusive effect of the arbitrator’s rulings that Tesla now asserts.
22   B.       This Court Should Proceed with the Litigation Regardless of How It Decides
23            the Motion
24            Regardless of how the Court decides Tesla’s motion, there is no basis to either stay
25   or dismiss the claims that this Court permits to proceed here. In the case of several
26   Plaintiffs, Tesla has demonstrated no arbitration agreement at all. There is no basis for
27
28
     5
         https://dictionary.cambridge.org/us/dictionary/english/representative
                                                        18
     Pls.’ Opp’n to Def.’s Mot. to Compel Arbitration
     Case No. 2:20-cv-00570-JVS-KES
 Case 2:20-cv-00570-JVS-KES Document 48 Filed 08/24/20 Page 26 of 28 Page ID #:2152




 1   halting those claims, and doing so would unjustifiably extend Tesla’s contractual
 2   arbitration agreement with the Plaintiffs. See e.g., McLellan v. Fitbit, Inc., No. 3:16-CV-
 3   00036-JD, 2017 WL 4551484, at *5 (N.D. Cal. Oct. 11, 2017)(declining to stay the
 4   claims of the non-arbitrating plaintiff while the remaining plaintiffs’ claims proceeded
 5   through arbitration). And while the surviving claims resulting from this motion are all
 6   part of the same nucleus of operative facts as those of the Plaintiffs without arbitration
 7   clauses, the resolution of claims in the arbitral proceedings will have no bearing on the
 8   resolution of the claims with the Court. See Congdon v. Uber Techs., Inc., 226 F. Supp.
 9   3d 983, 990 (N.D. Cal. 2016) (rejecting the defendant’s argument that staying the claims
10   of the non-arbitrating plaintiffs was necessary to avoid a waste of judicial resources); see
11   also Lee v. Postmates Inc., No. 18-CV-03421-JCS, 2018 WL 4961802, at *12 (N.D. Cal.
12   Oct. 15, 2018)(declining to stay the claims of the non-arbitrating plaintiffs while the
13   remaining plaintiffs arbitrated their claims inter alia because it was not clear that doing
14   so would prevent the risk of inconsistent outcomes). Accordingly, there is no good reason
15   to stay the claims that will remain with the Court.
16          Furthermore, to force Plaintiffs to attempt to establish liability for the causes of
17   action entitling Plaintiffs to public injunctive relief, given the almost total lack of
18   discovery available in arbitration would itself subvert the policy objectives underlying the
19   holding in McGill and Blair. And finally, Defendant offers no explanation as to how such
20   an arbitration would even work, given that there are a number of states for which there
21   would be multiple arbitration decisions, and high likelihood of inconsistent results. Not
22   only is there no increase in efficiency by having the arbitrators decide the claims for
23   public injunctive relief, it would actually create considerable inefficiency and confusion
24   by forcing this Court to sort through arbitration proceedings that, in every instance, will
25   be based on a far thinner factual record than would be the case if handled by this Court.
26                                        IV      CONCLUSION
27          Neither the contracts Tesla entered into with Plaintiffs, nor any of the state laws
28   discussed in this opposition, require this Court to take the narrow oversight over claims

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     Pls.’ Opp’n to Def.’s Mot. to Compel Arbitration
     Case No. 2:20-cv-00570-JVS-KES
 Case 2:20-cv-00570-JVS-KES Document 48 Filed 08/24/20 Page 27 of 28 Page ID #:2153




 1   for public injunctive relief that Tesla demands. For the reasons stated above, the motion
 2   to compel should be denied and this Court should proceed with the claims for public
 3   injunctive relief alleged by Plaintiffs Lee, Xia, Ahronee, Arroyave, Rodriguez, Wu,
 4   Gucwa, Hutcheson, Curley, Zhang, Guzman, Rakestraw, Bharadwaj, Hensel, Sallurday,
 5   Sallurday, and Gleason.
 6   Dated August 24, 2020                               Respectfully submitted,
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     Pls.’ Opp’n to Def.’s Mot. to Compel Arbitration
     Case No. 2:20-cv-00570-JVS-KES
 Case 2:20-cv-00570-JVS-KES Document 48 Filed 08/24/20 Page 28 of 28 Page ID #:2154




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     Pls.’ Opp’n to Def.’s Mot. to Compel Arbitration
     Case No. 2:20-cv-00570-JVS-KES
